Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 1 of 12

EXHIBIT B

Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 2 of 12

‘Zigarienbs Ino] 0} sia}e"] pueuleg UOnRsnIAIg

jo smjeig yerp pue dopaagq <(p'o) Adoyeys

aseo Sulpsesal o[pueig WIL], /M souaIayUOD Quy
J9]31q pure ‘smal “QT] zigarzenbs imo, sa Jsjenyog
‘qustyo

0} [Tews pue spuRLisg UuOTEsyTPOIg YeIp ozi[euLy
J9[31q pure ‘smald ‘OTT ziqazenbs Ino, sa Jojanyog
(70) Adoyeus ase

pur spuewag uonesnysig Suipresai yusro peur
(71) 2918tg YyeorA! pure ‘smorD yay ‘DTT ‘ziqarenbs
4nO,J 0} spueulsg UOyesHIOIg OSIAaI / YeIG

Jo[31q pur ‘smarg ‘OTT zigerenbg Ino, sa Jajanyos
‘Jo[Brq Yeo] pur ‘smarD YOY

“Zig srenbsino,j 0} sia}}9] puewoap yesp pue dojaasq,
Jg[31q pure ‘smalD “TT Zigorenbs Ino, sa Jajanyos
*(9°Q) SIone] pueWAp suI]NO pue dojassq

Jo[s1q pue ‘smorD ‘OT] zigorenbs ino, sa Jgjenyos
‘(S'0) Adarens aseo pur slave] pueuap

SULpiesal o[pueIg UL], /M 90UDI9TUOD OUOYg

‘(9/0 +’) Adayeys ose doyaaop pure sis}}9] pueulap
SuIpsesal o[puLig WI] /M soUaIszUOD ouOYd JoJ daig
19[81q pure ‘smalD “T] Zigoszenbs 10] SA Jgpanyos
‘ABajNS UOT9T[09 dopaaag] {I9[31q Yor]

pure ‘OTT ‘zigozenbs ino, ‘smarg yay YyorRasay
{JUST[O WO sasessoul pur syusuInoop ozAjeuy
J9[81q pure ‘smalg ‘TY zigorenbs sno, sa Iajanyo¢
"(ou €'Q) owes SuIpsedo1

aouspucddsaoo [IeWa puke JUDWIAOISY 90,1 YeId
I9{31q pure ‘sMaID “T] Zigosenbs Ino, SA Jojanyos
(€0)

yoreasal Jo seore uo Adayeys dopsaag ‘(p'0) J2jenNUNs
Apod pure o[pueig WI /M soualayU0D suOYg

‘(€'0) Sunjsour JUsI[o Joy oredalg ‘(9°9) syuauINoOp
poyeloosse pur s}usUIZOIS YY ROT UlOoLg azATRUY
JO[31q pure ‘smarg ‘DTI zigarzenbs ino, sa isjanyog
*(0/U €°Q) PUNOISyDeg aseo SuIpIesaI

o[puelg WL] jesunos [essuayH /M souapuodsai07

UonezIWA}]

00'0¢z$

00'ss$

OO'S8Es

oo'OEEs

00's9I$

OS LEIS

00°S6r$

00°0$

00° 0rr$

00°0$

yunowy

30

70

vl

cl

9°0

$0

81

oT

If 0} sanoyy

00°SLe$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SLZ7$

ayey

MAV

MAV

MWY

MAV

MINV

MAV

MAY

MWY

MAV

a9d20y OWI],

€707/€0/80

€C07Z/80/L0

CCOZ/90/L0

702/S0/L0

CCOC/L 7/90

CCOC/LI/90

7707/90/90

CCOT/ET/SO

CCOT/ET/SO

C70Z/8 1/S0

ajeqg

6L9L0°000S¢

6492000065

6492000065

6L9L0'000S¢

6L9L0°000SS

6L9L0°000SS

6L9L0°000SS

6L9L0'000S¢

6L9L0'000S¢

6L9L0'000S¢
Agpse My ‘WW MoIpuy MWY Aowony

UOIE[NI[L. 33,4 ,SAaUA1OYY 9[Ge19A099y]

7272 OT1

1g advnby Anoy “A dajanyay
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 3 of 12

sjuepuajag [Ieuls pure ynejop uo Adoyeys dopoasq
*(L'0) Ue[d ASAOSsIC] pur uel g VOHesIT] yep

pue dojaacg “(¢°9) smyejs ose ZuIpIesal JUSTO [IeUI
Jo[31q pure ‘sMard ‘OTT zigazenbs mo, sa Isjanyos
‘(EO/A ¢'0) sBurpeojd

JMSUY $,L[3Iq SYS 0) UONOP] ozI[eULy pur dsTAdYy
JoISIq pure ‘smarg ‘OTT zigqarzenbs ino, sa Isjanyog
‘WusUIspNe INeJoq] 10} suOHO|Y UO ABayeys doyoaoq
Jo[31q pure ‘smalg “QT zigorenbs ino, sa Isjanyos
‘uowispne yNeJoq 10}; UOHOYY 11N0>

JOLSIC] OYEp] Joy prepurys pue omnpesoid yoreasoy
J9]31q pure ‘smarg ‘OTT zigaszenbs ino, sa Jsjanyos
(o/u 10) wOMsuy,,

8J9[3]q Jojonyos Apod pue o[puelg uy peur
Jo[s1q pure ‘smard ‘dT zigezenbs Ino, sa Jajanyas
‘SUISWIY I]Nejop pue

SOIAINS SUIPIESaI S[PULIG WI], /M soUaIaJUOD 9UOYg
Ig[81q pure ‘SMoID “OTT Zigosenbs Ino,j SA Jsjanyos
“PUSTAL YSOL SSOUITA.

padxe ulosjig [eyuajod /m s.uapuodsaos [eur
Jo[31q pure ‘smarg ‘OT ziqezenbs ino sa Jajanyos
“SHQIYXY pue yurepduio; ozijeuy pur ostacy

JO[SIq pue ‘smarg ‘OTT zigorenbs ino.j sa Jajanyos
(ZO) wre[duioD

SUIpIeSal S[pukIg UN], /M DUSIAJUOD sUOY

{(€'0) SoTMY [e007] pue sinpssoid Burpy asses ynod
yOLYSIC OYEP] Youeasay ‘(¢-0) Me] OYEP] JopuN AyQWUD
SSOUISNg PUR SJUSPISol 93e}S-JO-Jno uO UONSIpsunf

/ Sd1AI98 [euosIod yoseasay “(¢*]) sumejo Aoendsuosd
[LAID pue pnely spnjout 0} yure[duI07 astAoy

I9[31q pure ‘smalZD ‘OTT zigazenbs Ino sa Isjanyos
(90) Adajyeys Sulpresal sjpueslg WIL] /M SoUaIayUOD
auoyd “(€°0) oIsteg Ydasor yoreasoy *(g°1) UONOY Jo
sasned IYO puke joRyUO| Jo yoealg Jo} JuIe;dwio7
OSIASI / YeI “(p'O) WNsMe] SuIpseSal IsjanyIs

ApOD pur s[purig WIL], /M soUaIojUOD sUOYg

Ip[81q pure ‘smola “OT zigarzenbs ino, sa Jsjanysg
°(Z'0) Adarens Suipsesal o[puelg UL], /M\ 90US39JU09
ououd “(7'°Z) Julejdwoy yesp pue dojsaeq

Jo[S31q pue ‘sMaID “OTT zZigqorenbs mo sa J9jenyos
“(y'0) J9]81q pur ‘smerD

00'S8e$

0S 78$

Os c8$

00°07z$

OS L7$

00'ss$

o0'ss$

OO'OTIS

0S°L89$

OS '7S8$

00°099$

vl

80

c0

70

v0

o¢

Ve

ve

00°SL7$

00°SL¢$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00'SLz$

00°SL7$

00°SLz$

MAY

MAY

MAV

MAY

MAV

MAV

MWY

MIAV

MINV

02/80/11

C0C/€0/TT

C7OC/ST/OT

CCOC/TZ/OL

CCOC/LI/OT

CCOC/LO/OT

CCOT/TL/60

77OT/T 1/60

€C02/80/60

7207/70/60

6L9L0°000SS

6494000055

6L9L0°000SS

6L9L0°000SS

6L9L0'000SS

6L920°000S¢

6L9L0°0006S

6L9L0°000S¢

6L9L0°000SS

6L9L0°000SS

7COT/T0/60 6494000055
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 4 of 12

yelp pue dojaaagq ‘(6°¢) Me] JO sumnpueIOWD\
SutAuedwosoe pure zigozenbs ino,j pue

SMOID ISUILSE }[NeJIq IO} sUOOP] Yep pue dopasq
Jo[31q pure ‘smarg ‘OTT zigarzenbs ino sa Jajanyss
“(r'Q) WNeJOq 10} suonop] dopsasq

*(9°0) Aligey] [eIoAas pur jurof pue sjuepuayop
aidnynw yy smposold juawspnf y[nejop yoreasay
Jo[S1q pur ‘smard ‘OTT zigerenbs Ino, sa Jajonyo¢g
‘(E/E p'Q) B[pueIg UL] /M ddUdIATUOD sUOY

‘(€'0) sanpasold JNejoq] WNo [elape.j yoreasay
Jo]31q pure ‘smarg ‘OTT zigarenbs 3no,j sa Isjonyos
(70) SmalD YOY

0} jrews dn moyjo.j {(¢7Q) soudIaJUOD BulpNpeyos
puany “(p'0) soussayuoZ Suynpayps 103 dorg

Jg[8tq pure ‘smarg “OTT zigozenbs no, sa Jsjanyos
‘ue] q UONRSyTy] pue sored Jo soueseadde

SUIPILSAI YIIIO [eIIpNe /M souapuodsaioo peur
J9[31q pure ‘smarD “DT ziqazenbs Ino, sa J9jonyo¢
(7:0) uel AtsA09sIq] pur uel uoNesHTT oy pue
ozleuly ‘(7'Q) oures Sulpresal souspuodsaLOo [leur
‘(€'Q) Weld ASAoosIq pue uel uoHeSsI] Surprmesox
SMOID YOY pure 19[3rq Yeo] /M 9ouaIgJUOD WOOT
Ig[3tq pure ‘smal ‘OT zigazenbs ino, sa Jajanyag
*SOINSO[ISIC] [NIU] SIFU] s1Ao1 pure doyoaaq
Jo[31q pur ‘smal ‘OT] zigazenbs ino, sa Jajanyos
(70) 8[pueIg WIL /M soUaIaJU0D

quod *(p'0) SMAID YoY puke Jo]3Tq Rory /a
SOUdIQJUOD UE[q UOHeSHIT / AA0ISTC W007 puaiyy
Jo[31q pure ‘sMmaly “JT Zigerenbs Ino,j sa igjanyos
‘(0/U 79) sdUSIATUOS UR]d UOHesOT / ABAOOsSIp
SuIpIesol JO[SIq Yeo, /M DOUSpUOdsaOD [lew
19[31q pure ‘sMalg “OT zigqozenbs Ino, sa Isjanyog
‘(0/0 ¢'Q) SOUAJATUOD AISAODSIP SUIPIeSAl ID[B1q
yeorp /M souapuodsaios [lew ‘(9/u p'Q) smyeis
9sb9 SUIPIedal o|pueIg WN], /M soUaIaTUOD sUOY
Jo[31q pure ‘smala ‘OTT zigarzenbs ino, sa Jajanyog
‘(O/U [°Q) SoUsTaTUOD AIDAOOSIP SUIPIeSal

Jo]81q JURpuajaq /M souspuodseLioo [rewig

Jg[31q pure ‘smal ‘Dy T] zigarzenbs mo, sa Jajanyog
‘(v'0) WNEJOp

JO} P10991 puR JOJUOI-pue-ja9U AIDAODSIP SuIpesor

00'0ZE'IS

00°SL7$

0S 78$

OS LVS

00'°ss$

OS Z61$

00'S9I$

00°S9T$

8v

£0

60

c0

L0

90

9°0

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SLZ$

00°SL7$

00°SLZ$

00°SLZ$

00°SL7$

00°SL7$

MAY

MAV

MAY

MAV

MANV

MINV

MAV

MAV

MWY

MAY

CCOC/6C/CI

CCOC/TC/T1

CCOC/F T/T

CC07/Z0/T1

CCOZ/10/71

CCOC/SC/TI

CCOC/ET/TL

CcO?/1 2/11

CCOC/LI/TT

CCOC/TT/TT

ccOc/Ol/TI

629L0°000SS

6L9L0°000SS

6L9L0'000SS

6L9L0°000SS

6L9L0°000S¢

6L920°000S¢

6L9L0°000SS

6L9L0°000S$

6L9L0'000SS

6L9L0'000S¢

6L9L0°000¢S
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 5 of 12

UAT] 0} [TeUIA pue yUoMUSpNL y[NeJoq JOJ UOHO|y

jo yoddng ut ssjonyag Apo jo uoyerepsaq astAoy
Jo[31q pure ‘smarg ‘OT zigazenbs ino, sa Jsjanyos
‘Ef ¢°0) TuSUIspal INeJBq] JOY

uoyoy] Jo Hoddng ul umpuriowsyy astacl / ye
Jo[s1q puke ‘smaig ‘OTT zigarenbs imo, sa Isjonyos
*(9/U p'Q) Adoyens quoWspNe yNejJoq Joy

UOHO|| SULPIesal S[PULIG WI] /M 90UdIDJUOD oUOT
19|31q pure ‘smalg “TT Zigqarzenbs ino, sa Jajanyag
‘(v1 juow8pny Yeo Joy uoHOYy

squepusjoq jo yoddng uw winpueiowsyy yeiq “(9'0)
UOTE JO SISNLS SAYUESQNS JO SJUSWIAD YOIRSS3y
Jo9[31q pure ‘smary “DTI ziqazenbs Ino, sa Jajanyog
‘ASOIVS pue snyejs

quouIspne yNejoq JOJ UOTOP] SuIpresal JUATIO peu
JQ[3Tq pue ‘smaly ‘OTT zigarenbs ino sa Jajanyos
‘juowspne j[Nejoq Jo} uoyYo|y

jo poddng ui winpueiousy] yesp pue dojoasg
Jg[stq pure ‘smalg “TI zigqarzenbs ino, sa Isjanyog
‘(0/U 10) WUSUINSIe JUSUISpNs yNeJaq 10} UOHO||

jo yoddng ul wnpueiomsyy] ouryno / dojaasq
JO[S1q pure ‘smarg ‘OTT zigazenbs ino, sa Jajanyog
‘juswSpne j[Nejaq] JO} OHO]

jo yoddng ui wnpueiowayy yeip pue dojsaeq
Jo[S1q pure ‘smary “DTT zZigorenbs mo, sa Idjanyos
‘OUPP] Ul o}RI 4SOI9]UT pue

PrepuUR}s JNO YUN JUoWspNe yNEJaq] YorRasay
Ig[81q pue ‘sMalD ‘DTI Zigorenbs no, sa Jgjanyos
‘O/H 50) BISIA Yeo]

yuepusjag -I[Nejoq Jo} uoVoy] yep pue dopsasg
Jg[31q pure ‘smary “DTI zigerenbs ino, sa Jajenyog
‘E/2 70) wa

0} [I2Wd puke JaMsuy S$,13[31q SUTALYS Jopio szAjeuy
ID[81q pure ‘smal ‘OTT zigarenbs mo, sa Jajonyog
“‘ynejaq Jo Anuy $21) Surpsesas yuor]s [rewug
Jg[stq pure ‘smalg “TJ Zigozenbs imo, sa Isjanyog
*(€'Q) S0UaIATUOD sNyeIS

otuoydspa] puspy “(Z'0) s0UalayUOD smyR}g 10} dag
Jo[81q pure ‘sMaly “DTT Zigerenbs Imo, sa Jajanyos
“(€'0) NeJOq] JO s9pIC pasodolg yep

pure dojsaaq “(9'0) Ad[se AA “A. MoIpuy JO uONeIEpIOG

00°0Zz$

00'0ss$

OS 78g

0O'STLS

00°0¢z$

00°S9T$

OS’ Le$

OS LEI$

80

£0

oC

80

90

10

$0

00°SL7$

00°SL7$

00°SL7$

00°SLZ$

00°SLe$

00°SL7$

00°SL7$

00°SL7S

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

MAV

MAV

MAY

MAV

MWV

MAY

MAV

MAV

MNV

MAV

MAY

MAY

€C07/87/€0

€7OC/CT/EO

€COC/TT/EO

€COC/61/€0

ECOC/LI/E0

ECOC/LI/E0

€c07/91/£0

€707/90/t0

€707/90/€0

€707/70/€0

eTOC/TE/TO

€707/97/10

€TOC/ET/TO

6L9L0°000S¢

6L9L0°000SS

6L9L0'000SS

6L9L0°000SS

64920'000S¢

6L9L0°000S¢

6L9L0°000SS

6L940'000S¢

6L9L0°000SS

6L9L0'000S¢

6L9L0°000SS

6L9L0°000SS

6L9L0°000SS
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 6 of 12

uo Adayeys dopeasq ‘(9/u 79) o[pueig WIL pue yo arne
Aoulony Adydnyueg [enusjog /M Zuj20ul WOOT
Jo[S1q pure ‘smarg “TT zigarenbs ino, sa Jajenyog
"(0/0 7’) BUNSe SION PoID Surpresar

soysniy, Aojdnayueg [leur ‘(9/u ¢°9) yO arin Aswony
Agydnpjueg [enusjod /m souapuodsaos [ew
Ig[31q pur “SMaID “OTT Zigorenbs Ino, sa Jgjanyos
“(0/4 70) uaYoD eMpUcD

Aaulony Adjdnpueg /M souspuodsen09 [rew7
Jg]31q pure ‘smarg “OTT zigqarzenbs ino, sa Jsjanyog
‘E/4 70) Aoidnyueg

SJ9[81q JUepuayac] Jo soon Yes *(9/U p'0) Aoydnnpueg
Jg[81q SuIpIeSol o[pURI WI] /M doUdIETUOD sUOYg
19[81q pue ‘sMaID “DT] Zigouenbs sno, sa Jojanyos
‘('U Z'Q) Suondo pur punoIdyoeq

9se9 SuIpresel uso eIyQUAZ /m dn MOTO}

auoyg “(9/0 ¢'Q) SUM UMOIg Jo UDdYO7) BINA, AouIONe
[enusjod /M a0usI9JUO9 suo {(9/U 79) AoWIONY
Aoydn.nfueg eruiosI[eD Jo JUNsI] [EUS YyoreasoY
JO[S1q pure ‘smary ‘OTT ziqozenbs ino, sa Jajanyo¢
‘O/H 8'0) BrMOF TED Jo yoLNsIq [eUs_ ur skousoye
Agidniyueg pue Aejs Aojdnnjueg jo adoas yorrasey
I9[81q pure ‘sMaID “TI Zigorenbs no, sa Jojenyos
"E/U ¢°0) Aoydnyyueg

Jo31q ZuIpsesal o[puelg WIL], /M 30UDIg;UOD oUOY
I9|81q pue ‘sMmaID “OT zigouenbs sno, sA Jajanyos
‘E/ 70) Aoidnyueg 49/81q SuIpresar juayo prewry
I9[31q pure ‘SMaID “OTT Zigorenbs sno, sa Jsjanyos
‘(0'u g'0) JUaWIspNy yNBJOG

Joy UOTOW Jo yoddng ul wnpueoWdyy aslAdy
J2[81q pure ‘sMaID ‘DTI Zigosrenbs Ino, SA Jajanyos
‘(7 1) juowspny ynejoq 10} uoHOW

syynuie[g Jo uoddng wt winpurioulsyy sstAcl / yeId
£(9°Q) MP] Jo 901049 Ayodoid AyyunuMUOD YorIeasaYy
I9[31q pur ‘SMaID “DTT Zigorenbs 1no,] sa Jojsnyos
‘(3' [) suonesrdun Ayadoid Aytunutuos pue Mey JO
Sod10yo yorvasay ‘(7'Z) juouIspNs I[NVJoq 10} uOyO;,
jo yoddng ul unpuriowayy yesp pue dojaaoq
JQIBIq pure ‘smary “OT zigarzenbs Imo, sa Jajanyog
‘(y'0) JUswspne INeJOq 410y UOMO] Jo poddng

UL MTV Jo UonRIe|Ieq] YeIp pue dojaaag “(p'0)

00°Sé6r$

00°00TTS

31

v

00°SLZ$

00°SLZ$

00°SLé$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SLZ$

00°SLZ$

MAV

MAV

MAY

MAV

MINV

MINNV

MAY

MAV

MAY

€COC/TI/SO

€707/60/S0

€c07/C0/S0

ECOC/LT/VO

ECOC/PT/P0

€707/8 1/70

€cOc/T 1/70

€cO07/O1/v0

€707/v0/70

€7072/¢0/70

€70C/67C/€0

6L9L0°000SS

6L9L0'000SS

6L9L0°000SS

6294000085

649L0'000S¢

629L0'000SS

6L9L0'000SS

6L9L0°000SS

6L9L0°000SS

6L9L0°000S¢

6L9L0°000SS
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 7 of 12

‘yuouspne yNejaq

SUIpiedol o[pUeIg UN] /M s9UapuodsaO. [lew
Jp[3tq pure ‘smar_d “DTI zigqazenbs mo, sa Isjanyog
‘jusuIspHye INejoq SuyuRIH IpiO

pure ‘Me’T Jo SUOISN[DUOD 4oB,J JO ssulpul,y ozATeuy
Jo[BIq pue ‘smain ‘OTT Zigorenbs ino,j sa gjanyos
(70) sMeIS sed BUIpIesOI

yustpo /M souspuodsoO9 prewy (7°90) MINV

jo uoljeIeppaq] ozyeUuy pue sstasy ‘(7'0) Juowspne
Nejad Joy uoHoY] Yea “(1 1) jusuispne ynejoq
Joy UOHO| SunueIH Mpg pue ‘me’] Jo suoisnjouo;
OBJ JO sdulpul.y posodoig yep pue dors

19[31q pur ‘smolD “TTI zigorenbs Ino, sa Jajanyog
‘WD sjuepuajoq

SULUIvUNAL JsUIese JUSUUSpNe y[Nejoq pue Aojdniyueg
L wideyD 19181q Suipresos Jouq Jo uoyiod yep

pue yoreasoy ‘(¢°9) UONRN[ed JsazajUI AJA pue
aslAay ‘(6° [) JUsWSpNL INEJaqq JOJ UOHOY] SyHULe[d
jo yoddng ul wnpuriowsyy ozijeuly pur astaoy
Jo[31q pure ‘smara ‘DTI zigezenbs ino, sa Isjonyos
‘C/U €°0) UOHeZIeUY yusUIspNy INEJOq

Joy VOLO] Suripresay JIS /M Adoyeys dojaaag
I9[81q pure ‘sMmoID ‘O'T] zigozenbs Ino, sa Jojanyos
‘ASoye.Ns pue snyeqs

9skd SUIPIESa1 o[pURIg UN], /M\ 9dUaIQJUOD oUOUg
J9[31q pue ‘smalD “YT Zigorenbs ino sa Jojenyos
“ARs Anndnxueg

19/31q /& ompedold JuswSpnl ynejop yorRosayy
Ig[81q pure ‘sMmoID ‘DT’] zigozenbs Ino, sa Jajanyog
"smeys aseo pur uowspne

ynejoq Jo} uonoyy ‘Aodnpyueg Jo]s1q Surpsresor
JUDI[D 0} s9UapUodsaI09 Yerp pue dojsaaq

Ja[81q pure ‘SMalD “TI Zigezenbs Ino, sa Isjanyoy
"yorrasar Ae}g Ao\dnpjueg s,juepuajzeq-07
SUIMO][OJ JUSUISpNe WyNeJaq] Uo Adayeys dojaaaq
Jo[B1q pure ‘smaID “DT Zigosenbs ino, sa Jajsnyos
(0/4 9’ [) [81g Uosanb

puke SiOUPsID Jo Sunsayy Aojdnyueg [sq puny
*@/A €°0) SIOMparD Jo Sua] Jopsrq 103 dog

JopsIq pure ‘smary ‘OTT zigazenbs ino sa Jajanyos
‘@/U €'Q) UNE]D Jo SHON / SuIpssoord Ao}dn due g

00°ss$

00'ss$

OS 7E9$

00'066$

00'ss$

OO'OL I$

00°01 1$

00'OLTS

70

70

cc

oF

c0

v0

v0

v0

00°SL7Z$

00'SLz$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

MAWV

MAV

MAV

MAV

MAV

MAV

MINY

MAV

MINV

MINV

€707/90/60

€707/$0/60

€707/60/80

€70C/60/80

€7072/8 1/L0

ETOC/ET/LO

€TOC/CI/LO

£707/90/L0

€7OC/CT/90

€CO7/S1/S0

6L9L0°000S¢

6L920°000S¢

6L9L0°000SS

6L9L0°000SS

6L920'000S¢

6L9L0°000S¢

6L9L0°000SS

6L9L0°000SS

6L9L0°000SS

6L9L0°000SS
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 8 of 12

Kase ‘W MOIPUY OS'LEIOTS$

68S

TROL

J9[31q pur ‘SMalD ‘OTT Zigorenbs Ino sa Joyenyss
‘(y'0) 28pig pesodorg pue

UWOHBIE[DOQ] SZI[RUL / ASIADY “('C) $90.J SABO JO}
woo] JO Woddng ul wnpueiomsyy ozipeuy / astaoy
{(3'Q) }20y4speaids UOTeZIUID}I S}S09 / soa} apIdWIOD
JO[SIq pure ‘smal “DTI zigqazenbs ino, sa Jajonyos
(SQ) SISOD pur sas.j SAoUIO}Y JO} UOHO|y
SUNULID I9PICQ pur ‘Me’T JO SUOESN[DUOZ ‘JOR

jo s3urput,y posodoig yep pue dojsaagq ‘(Z' [) s1soD
pure soo, SASWIONY Jo} UOHO;Y syyuuIe|g Jo Woddng
Ul WINpUBIOWD[ OSTAI / eI {(]) s}so>d pur

s990,] SASWOY oJ UOTO] SJyyUIe[g JO Woddng ur
Ag[se MM ‘W “orpuy jo uoyerepseq yep pue dojaasq
J9[81q pure ‘smarg “DT zigarenbs 1no,j sa Jajanyos
‘(S°Q) soley UOTE] [eIsIsuIUIOZ s[qeuoseay
OYep] WISYYON ‘oy dIoUNA MA YOrY JO uonesepaq]
aSiAal pue yeap ‘dojaaagq *(Z'0) HaqIYX” UONO]

/ SuONsepal JO sasodind Jo} spr09e1 SuIT[Ig ezATeuy
Jo[SIq pure ‘smalg “OTT zigazenbs inoJ sa Jojanyos
‘(y'0) uoNRIE[Seq,

90,J SUIPIeSal SIOUNI AA YOY /* souspuodsaios
[leUls puke sousiayuo suoUd ‘([°0) UoneIEpDOG

90,] SuIpresal o[puelg WI] /M QoudIAJUOD aUOY
Jg[81q pure ‘SMaID “TT Zigarzenbs ino, sa Jajanyos
“(a/U p'0) sdajs xu pue Jurejduiog pqs “uawspne
ynejaq Jo Ayiqeesiojus Sulpiesol o[pueI WH] /M
g0usIajuos suoY “(9/U 7’) sauaJayuoo suoyd 10} dog
J9[31q pure ‘sMalD ‘DTT Zigarenbg imo, sa I9jenyosS
*S]SOD pur soo, SAOUIOWY JO} UOHOY] SJFHUIEL

jo yoddng wt wnpueiousy yesp pure dojsaog
Ig[81q pure ‘sMoID “TT Zigozenbs Ino, sa Joponyos
‘uoyeIeppeq,

sooy sASUIOYe Jo} sAouso}e [eQUS}Od YorRasoy
Jg[S1q pue ‘sMmalD ‘OT] zigozenbs Ino,j SA Jojanyog
‘sao,y SAWIONY

Jo} VOHOP] SyyHUrelg Jo woddns ur yoreesoy

JQ[S1q pure ‘smary ‘TT zigorenbs Ino, sA Jsjenyog
‘s30,J SADUIONY Jo} UONOJ] UO ABayeys dojaasq
19[81q pure ‘SMmaID “QT] Zigouenbs 1no,j SA Jajenyos

OS TESS

OS THLS$

OS" c6l$

OS LETS

00°0SS$

00'ss$

00°SL¢$

00°Ss$

6T

Lé

LO

50

70

70

00°SL7$

00°SLZ$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SL7$

00°SLz$

00°SL7$

MAV

MIA'V

MAY

MAV

MAV

MAY

MAY

MINV

MAV

£C0C/8 1/6

€TOC/LI/60

€702/$ 1/60

€c07/C 1/60

€707/T1/60

€707/L0/60

€70C/L0/60

£702/90/60

€707/90/60

6L9L0°000SS

6L9L0°000S¢

6L9L0'000SS

6L9L0°000SS

6L9L0'000S¢

6L9L0'000SS

6L9L0'000S¢

6L9L0°000SS

6L9L0°000SS

MWY Aouiony 10} [e}0
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 9 of 12

Ul WINPURIOUIY (1 YoRqpady SplAcid puke MoIAcYy
Jojsrq pure ‘smary “TT zigorenbs ino, sa Jsjenyos
‘(e/u) eoyspeaids UOTE[NO]eO yuSUIspNf ozATeUYy
Jo[31q pure ‘smarg “OTT zigqazenbs imo, sa Isjonyos
‘(/s) yNRJOp

JO} UOTOU! JO POddns Ul OUISW SSIADI/MOTADY

Ig[31q pur ‘smarg ‘OTT zigozenbs Ino, sa Jojanyog
“SOINSOTSSIP [VII ozTTRUyATeIG

JQ[S1q pure ‘smarD ‘J T’] ziqazenbs mo, sa Jajanyog
*(0/1) SOINSO[SSIP [PYIUT :01 ABayeys dopsssq

JQ131q pur ‘smal “OTT zigorenbs ino sa Isjenysg
‘@/U) smarD YNOY pue I9[31gq Yeor, sjuepuayaq pue
Apuy /& Suysow ued Asaoosipsuonesiy pusny
J9[B1q pure ‘smaIg “TI zZigazenbs ino, SA Isjanyog
‘(0/U) syuepuajog

/M Sunsou ueld Asaoosip/uonesnyl] Joy oredaig
Jg[81q pure ‘SMalD ‘DT Zigarzenbs Ino, SA Jajanyos
“SOINSOPOSIP [EHIUL S JUST Ye

Jo[31q pure ‘smaly “TT Ziqazenbs Ino, sa Jjonyo¢
“SOINSOPOSIP [EIU S,JUST[D Yeiqd

Jo[31q pure ‘smary ‘OTT Zigarenbs ino sa J9jenuos
‘(0M ¢'0) eMSuUR Si9/81g JURpUaJo 9yLYs

0} UOQOU Jo poddns ul ows yusWA,ddnssstAcy
Jo[s1q pure ‘smarg ‘OTT zigerenbs ino,j sa Jojonyos
‘(0/U 9°) JOMSURP S,J9]317q SYS 0} UOHOU Yeiq
Jg]31q pure ‘smaly “OTT zigazenbs ino,j sa J9anyos
‘(O'U ¢'[) SIOMsUP JUSIOZNsUT

SYS 0} SUOTIOUL :o1 MR] OSD pue AIOjNIRYS YOIRASDy
Jog[31q pure ‘smalyn ‘DTT Zigerenbs Ino, sa Jajanyog
‘(oyu

9°) yuowspnl ynejap pure sorynp AIDAODSIP UO saTNy
[e007] oyep] pure ‘ompooold [ALD Jo sajny [eiapay]
“MB] O89 ‘oI SSUIPUT OZI[PUOUIOU pur YoIRsso yy
I9[31q pure ‘smard “OTT zigqazenbs ino, sa Jojanyos
‘E/U €'0) uel UoHRsHT/AtsAo9SIp

® SOINSOPSIP [RNIUL :o1 AZoyes dopaasq

JOISIq pue ‘sMaIg “OTT zigarenbs inoJ sa Isjanyog
‘(0/0 6'Q) syUSUINDOp ponssi-yNES

pure ‘sis}}9] puewWap ‘IaMsuP s,19]317q JUepUdjoq
Sureldusioo SuIpnyout ‘oly aseo azATeuR/MOIAgY

00°681$

00'E9$

00°891$

60

£0

80

0001S

00°01 ZS

00°0I7$
00°017$

0001S

00'017$

00'01z$
0001S

00°012$

00°01 Z$

00°01Z$

00°017$

00°017$

00°01 z$

00';01z$

Wds

Was

was

Wds

wads

Was

wads

was

Was

was

Was

Wds

wads

Wds

Wwds

€70C/P0/70

€CO0C/E7/10

CCOC/67/T1

CCOC/ET/TT

CCOC/EC/TT

CCOC/T TT

CCOC/TC/TT

CCOC/T2/11

CCOC/8 1/1

CCOC/EO/TT

CCOC/CO/TT

CCOT/CO/TT

CCOC/TO/T 1

CCOC/TO/TT

CCOC/LO/TT

6L920'0006¢

6L9L0'000S¢

6L9L0°000SS
6L9L0°000SS

6L9L0'000¢$

6L9L0°000SS

6L9L0°000SS
629L0'000SS

6L9L0'000SS

6L9L0°000SS

6L9L0°0008¢

64920'000S¢

64940 000S¢

6L9L0°000S¢

6L910°000SS
JO][NA-OlAazepziqd weg WS Aowony
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 10 of 12

TEA -LAorepziq] ues 00'L86$

LY

(10.

I3[s1q pue “SMAID “)TT Zigarenbs ano, SA anys

‘(Q/U) JUSWUspNE I[NeJoq SunUeID IopI_ szAjeuR/MITADY

J9[81q pure ‘sMdaID ‘OTT Zigerenbs Ino, sa Jajanyos
‘uawspne yNejOq

Jo} UOHO|, SyyuuIe,g Jo yoddng wi wnpueiowsyy
SUIpIeSal SUOISIAAI Jsasans pue ozATeuy

19181q pure ‘smaID “YT zigorenbs no,j sa Jojanyos
‘(e/a) AoydnryuRg s,9[8rq JuepUsyoq

siidsap 1y8no1q oq ABUL UOTJOW B YoNs yey}
yUSWSpNy INejJaq JO} UONOPY :o1 JUaUINIe dojaAog
Is[81q pure ‘sMmalD “OT Zigezenbs no, sa Jopanyos
‘CQ/U ZO) UOHOPY pies ZuNUeIs IOp1O pesodoig
astAolyesp ‘(9/U ¢"Q) OWS], SuEOddns pue

JOUg YSUd]I9AO JO} VOTO] OZITBUY pue ssLAaIjyeiq
12/8rq pure “SMoID “TT zigozenbs ino, sa Jgjanyog
‘Of ¢'0) PU

YISUS]ISAG ILI 0} SARI] JOJ UOOY] pue Aojdn.pyueq
$,J9[31q JuEpuajaq] Jo Wysy] ur yuourspnr yNejoq

JO} UOHOPY SJUST[D 221 MINTY /M Adayens dopsaoq
Jg]31q pure ‘smalg “DTI Zigarzenbs ino, sa Jajanyog
(eDpPua

YISUITIDAG II] 0} SARI’T JO} UCDO] OS] OWsUI pue
UOHOUL ssIAdI/eIp £(9'Q) 2d.0U 0} pop US ATpeIOUST
ore sorped poy[nejop Joyjoym pur sjolig yySuapIaA0
:O1 MBP OS29 PUL SO]MI [20] OYLP] Jo JOLsiq] yoIeasoy
19[31q pue ‘smalD ‘DTT zigozenbs no, sa Jgjanyos
‘Aoidnyueq S,1a[31q JURpUajag jo joeduit

ssnostp pue Asayeys jusuIspul ynejop dojaasq
J9/31q pure ‘smalD “VT Zigouenbs Ino, sa Jojonyos
‘(0/4 70) JUsWBpNe INeJoq JO} UOHOW|

jo yoddng ul wnpueiowsyy ul sjusumngse dojoaoqg
Ip[31q pure ‘smara “OTT zigozenbs Ino, sa Jajanyog
‘em ST)

jusUIspne WNejaq Joy UOTOY] syynuretg Jo Hoddng

00'891$

00°66¢$

80

61

00'01z$

0001S

00°01 z$

00°017$

00°0I7$

00°01 7S

00°0Tz$

00°017$

wads

Was

Was

Was

Was

Was

wads

Was

€702/S0/60

€70Z/0 1/80

€707/60/80

€COC/61/L0

€CO0C/8 1/L0

€702/81/L0

€C0C/¢7/90

€707/S$0/70

6L9L0'000SS

6L9L0°000SS

6L9L0°000SS

6L9L0°000SS

6L9L0'0006¢

6L9L0°000SS

6L9L0°000SS

6L9L0°000SS

WAS Aawony 10f [e101
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 11 of 12

OS'PBTLIS

00°L86$ LY JOT[NAL-OIALepziqq awe
OS L6L‘9I$ 6'8S Agpse A “i MoIpuy
$d0,j SASUIONY sInoy] ]#}0 |, pueay
Case 2:22-cv-00389-DCN Document 42-2 Filed 09/19/23 Page 12 of 12

C7998$

Jg[s1q pue ‘smarn ‘TTI zigqorenbs mo, sa Jajanqos
(00g 38 SmoY ST) YOM [edo] UOHLIE[IAq 904

sIOUE MA “| preyory -99,J ssoup Hedxg 00°009$
Jo[stq pure ‘smarg “y]] Zigozenbs mo, sa Jepanqos
asuadxs osejsog jsnany BS'S¢
Jopsiq pure ‘smarg ‘QT zigqarenbs mo,j sa Jajanqog
asuadxs osejsog Arenuer 9S'0I$
Jo[dIq pure ‘smarD ‘TT Zigarenbs mo, sa Jojanqog
asuodxe o8k}SOg IOqUIsAON, ILL¢
JQ[dIq pure ‘sMarQ ‘OTT zigqarenbs so, sa Jajanyog
“(0/1 OS°9S7$) JIB YeOIA| 7Z/LZ/6 SOLAIOS
JO SSQ001g - OU] ‘SAdTAI9S [B39] Oy :pooueape sjso7 ofa
Jg[SIq pur *SMaID ‘OTT zigqerenbs mo,j sa Jajanyos
OT ‘zigarenbs mo,j Uo ssad01g JO 991AI9g
SIDAING SS900Jq URPLIYS :PpaoueapeE s}sop 00°66$
Jo[31q pur ‘sMmar ‘OTT ziqozenbs smo,j sa Jajanyog
SMOIZ YOY WO ssad0Ig JO Id1AIIG
OTT ‘sactasag [e3a] ssoidxq :paourape s}soz 9'98$
Jo[SIq pure ‘sMaI_D “OTT ziqerenbg mo, sa Jajanyos
asuadxo oSejsog isndny OF ETS
Jg|S1q pure ‘smal “Q]] Zigqasenbs mo,j sa Jajanygos
osusdxs o8eysog Aqne LT EES
OF bL$
Jo[diq pue ‘smarg “TT ziqarenbs mo, sa Jajanqog
"€ZOZ ISNBNY Joy sadrey> Ados OL 91S
Jo[sIq pur ‘sMmar ‘QT ziqazenbs Imo,j sa Jajanyog
“EZOT Suns JOY sedreGD Adod 001s
Jo[siq pure ‘smaly “YT zigozenbs mo, sa Jajonqos
"€7Z0Z [Hdy 103 sadzeqD Adod 0€'9$
JQ[S1q pure ‘sMarD ‘OTT ziqarenbs mo, sa Jajanyosg
"EZOT YOR] Joy saBseyD Ado ol oz$
Jo[sIq pure ‘sMarID ‘OTT zigerenbs mo, sa Jajanyog
"CTO Jaquiasaq 10} sadseyD Ados 0961S
JQ[SIq pure ‘sMaID ‘OTT zigezenbs mo,j sa Jojanqos
‘TCOT JOQMISAON Joy sedreqD Ado_ 0001S
Ja(s1q pur ‘smal ‘OQy]] ziqosenbs mo, sa Jajanyos
“TTOT SUMs JOY sadreyD Adod OO'Ts

or0$

Oros

O1'0$

Oros

oros

org

O1'0$

MNV

MWV

MAV

MAY

MWY

MANY

MNV

MAWV

MAY

yso2

3809

sop

4s09

ys09

yso9

s0-

CS'OF6$

EZOC/ST/6

£COC/TE/80

ETOT/TE/TO

CCOT/OE/TT

77OT/67/60

CZOT/8T/6

CZOT/OT/6

7ZOT/TE/80

CCOC/T E/LO

€7OZ/TE/80

EZOT/0E/90

£TOC/TE/SO

ETOT/OE/HO

CCOT/T ECT

CCOC/OE/TT

TCOT/OE/90

$1802) [BI01,

6292000085
6L9L0°000SS
62940°000S$

6L940°000SS

6L9L0°000SS

64910 0005S

6L9L0°000S$
6L9L0°000SS

6294000085
sosseyD ayo

sogseyc Adoz Joy 1e0 |
6292L0°000SS
6L9L0°000SS
6L940°000SS
6492L0°000S¢
6L9L0°000SS
6L9L0°000SS
6L9240°000S5

sadreyD Adoa
WOLB[NITE, $}S07) 2[qe.1dA020y

212 DTT Zgaaonds indy “A dajanyoy
